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 5                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                 NO: 2:14-CR-0001-TOR-2
 8                            Plaintiff,
                                                 ORDER RE: PRETRIAL MOTIONS
 9         v.

10   STEVEN RAY ROOT,

11                            Defendant.

12         BEFORE THE COURT are Defendant’s Motion for Bill of Particulars (ECF

13   No. 141), Motion to Suppress Evidence Seized (ECF No. 142), Motion to

14   Dismiss/Challenge Sufficiency of Indictment (ECF No. 167), Motion to Suppress

15   Pole Camera Evidence (ECF No. 168), Motion to Dismiss Case re: Speedy Trial

16   Violation (ECF No. 171), Motion to Suppress Statements (ECF No. 188), and

17   Motion for Disclosure of Brady Material (ECF No. 189), as well as the

18   Government’s responsive briefing on each motion. A pretrial conference and

19   evidentiary hearing was held on September 19, 2014, in Spokane. The

20   Government was represented by Caitlin A. Baunsgard. The Defendant was present


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 1   with his counsel, Douglas D. Phelps. The Court has reviewed the motions and

 2   accompanying pleadings, heard from counsel and is fully informed.

 3         1. Motion for Bill of Particulars (ECF No. 141)

 4         Defendant seeks specific information by which the United States seeks to

 5   prove the case against him. For instance, Defendant seeks the specific dates,

 6   statements, overt acts, events, and conversations upon which the prosecution will

 7   rely to establish the charged conspiracy. ECF No. 141 at 1–3.

 8         A bill of particulars has three purposes: to apprise the defendant of the

 9   specific charges being presented so as to minimize surprise at trial, to aid the

10   defendant in preparing for trial, and to protect against double jeopardy. United

11   States v. Burt, 765 F.2d 1364, 1367 (9th Cir. 1985) (citing United States v. Long,

12   706 F.2d 1044, 1054 (9th Cir. 1983)); United States v. Ayers, 924 F.2d 1468,

13   1483–84 (9th Cir. 1991). In general, where the indictment notifies the defendant

14   of the charges against her and the approximate dates of her alleged illegal conduct,

15   a bill of particulars is not warranted to ascertain the exact dates of the conduct.

16   United States v. DiCesare, 765 F.2d 890, 897–898 (9th Cir. 1985) (Defendants

17   “requested a bill for three reasons: (1) to obtain the names of any unknown

18   coconspirators; (2) to determine the exact date on which the conspiracy allegedly

19   began; and (3) to delineate all other overt acts that comprised the charged activity.

20   These reasons, however, do not warrant a bill of particulars.”) (citations omitted).


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 1         The Superseding Indictment (combined with the discovery provided in this

 2   case) sufficiently informs Defendant of the specific charges being presented so as

 3   to minimize surprise at trial, to aid the defendant in preparing for trial, and to

 4   protect against double jeopardy. This motion is denied.

 5         2. Motion to Suppress Evidence Seized (ECF No. 142)

 6         Defendant seeks an order suppressing all evidence obtained during the

 7   execution of a search warrant at his residence and car. He contends the affidavit in

 8   support of the warrant (reproduced at ECF No. 142 at 45–51) did not establish

 9   sufficient probable cause.

10         Under the Fourth Amendment, a search warrant may not issue without

11   probable cause. U.S. CONST. amend. IV. The determination whether probable

12   cause exists is a “practical, common-sense decision” made in light of the totality of

13   the circumstances. Illinois v. Gates, 462 U.S. 213, 238 (1983). In determining

14   whether a search warrant was based upon probable cause, this Court is “limited to

15   the information and circumstances contained within the four corners of the

16   underlying affidavit.” Crowe v. Cnty of San Diego, 608 F.3d 406, 434 (9th Cir.

17   2010) (quoting United States v. Stanert, 762 F.2d 775, 778, amended on other

18   grounds, 769 F.2d 1410 (9th Cir. 1985)).

19         Review of a magistrate judge's determination that probable cause existed for

20   a warrant is deferential; “the duty of a reviewing court is simply to ensure that the


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 1   magistrate had a ‘substantial basis for . . . conclud[ing]’ that probable cause

 2   existed.” Gates, 462 U.S. at 238–39; see also United States v. Kelley, 482 F.3d

 3   1047, 1050 (9th Cir. 2007) (“Normally, we do not ‘flyspeck’ the affidavit

 4   supporting a search warrant through de novo review; rather, the magistrate judge's

 5   determination should be paid great deference.” (internal quotation marks omitted)).

 6         For probable cause to exist, a magistrate need not determine that the
           evidence sought is in fact on the premises to be searched, or that the
 7         evidence is more likely than not to be found where the search takes place.
           The magistrate need only conclude that it would be reasonable to seek the
 8         evidence in the place indicated in the affidavit.

 9   United States v. Fernandez, 388 F.3d 1199 (9th Cir. 2004) (quoting United States

10   v. Peacock, 761 F.2d 1313, 1315 (9th Cir. 1985), overruled on other grounds,

11   Gomez v. United States, 490 U.S. 858 (1989)) (emphasis in original). In

12   evaluating affidavits which, as here, contain hearsay information supplied by a

13   witness to a police officer, the magistrate’s task “is simply to make a practical,

14   common-sense decision whether, given all the circumstances set forth in the

15   affidavit before him, including the ‘veracity’ and ‘basis for knowledge’ of person[]

16   supplying hearsay information, there is a fair probability that contraband or

17   evidence of a crime will be found in a particular place.” Gates, 462 U.S. at 238;

18   see also United States v. Miller, 753 F.2d 1475, 1479 (9th Cir. 1985).

19         In this case, the victim’s testimony placed her in Defendant’s house

20   overnight where she observed substantial quantities of methamphetamine as well


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 1   as firearms, where she smoked methamphetamine with Defendant, and during

 2   which time Defendant told her that he had obtained the house in exchange for

 3   $25,000 in methamphetamine. Satisfying one prong of the Gates analysis, the

 4   victim had a strong basis of knowledge: recent first-hand observation of

 5   contraband and evidence in Defendant’s residence.

 6         Defendant’s argument, as focused in his supplemental briefing, centers on

 7   the second Gates prong. He argues there were insufficient indicia of the veracity

 8   of the victim’s statements because law enforcement officers failed to disclose the

 9   victim’s criminal history in the affidavit. Intentional or reckless omissions may

10   negate the showing of probable cause in a search warrant. See United States v.

11   Estrada, 733 F.2d 683, 686 (9th Cir. 1984). It is Defendant’s burden to make a

12   “substantial showing” that the omissions were intentional or reckless; his

13   allegations must be accompanied by an offer of proof. United States v. Chavez-

14   Miranda, 306 F.3d 973, 979 (9th Cir. 2002). Defendant has offered no proof

15   beyond his assertions that the Deputy James Pelissier, in swearing out the affidavit,

16   intentionally or recklessly omitted information about the victim’s past criminal

17   convictions. ECF No. 166

18         Further, Defendant must show that such omissions, even if they were

19   intentional or reckless, undermined the sufficiency of the affidavit. See Estrada,

20   733 F.2d at 686. The victim’s criminal record consists of juvenile convictions for


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 1   third-degree possession of stolen property, third-degree theft, and third-degree

 2   malicious mischief. None of these crimes bear on the honesty or credibility of the

 3   victim. See, e.g., United States v. Glenn, 667 F.2d 1269, 1273 (9th Cir. 1982)

 4   (“Generally, crimes of violence, theft crimes, and crimes of stealth do not involve

 5   dishonesty or false statement . . . . [and therefore] do not bear directly on the

 6   likelihood that the defendant will testify truthfully.” (internal citations and

 7   quotation marks omitted)). Nor does the fact that victim admitted to using

 8   methamphetamine with Defendant impinge her credibility. See, e.g., Estrada, 733

 9   F.2d at 686 (“Admissions of crimes . . . carry their own indicia of credibility—

10   sufficient at least to support a finding of probable cause to search.”) (quoting

11   United States v. Harris, 403 U.S. 573, 583 (1971)). Adding to her credibility, the

12   victim positively identified Defendant’s car and house to the police, and she

13   showed physical scrapes and bruising corroborating her statements regarding the

14   assault. The magistrate had sufficient indications of the veracity and base of

15   knowledge of the victim’s statements to conclude, as a matter of common sense,

16   that it was fairly probable the drugs and guns were located in Defendant’s

17   residence.

18         Finally, Defendant contends that even if there was probable cause to issue a

19   warrant to search his house, there was not probable cause to issue a warrant to

20   search his car. The totality of the circumstances in this case also made it


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 1   reasonable for the magistrate to conclude it was fairly probable that the car

 2   contained contraband or evidence of drug sales. At the time Defendant was

 3   stopped, he admitted he tried to evade police by turning onto a dirt road and

 4   accelerating away. Defendant was immediately arrested by the investigating

 5   officers on a felony warrant out of Idaho charging him with possession of a

 6   controlled substance with intent to distribute. Given this information

 7   demonstrating Defendant’s possible connection with drug trafficking and his

 8   expressed intension to avoid police contact, Deputy Pelissier’s statement that

 9   narcotic users will often travel with narcotics, and the victim’s statements

10   regarding the large zip-lock of methamphetamine, the guns, and Defendant’s

11   comment that he obtained the house in exchange for $25,000 of methamphetamine,

12   it was reasonable for the magistrate to conclude that Defendant was in the business

13   of selling methamphetamine and that he would likely use his car to further that

14   enterprise. As such, the magistrate had a substantial basis for concluding that

15   Defendant’s car contained contraband or evidence of his alleged trafficking.

16         There is also no basis in the record for seriously contending that the good

17   faith exception to the exclusionary rule does not apply. United States v. Leon, 468

18   U.S. 897 (1984).

19         Accordingly, Defendant’s motion to suppress evidence seized pursuant to

20   the warrant is denied.


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 1         3. Motion to Dismiss/Challenge Sufficiency of Indictment (ECF No. 167)

 2         Defendant contends the indictment against him must be dismissed as it does

 3   “not charge a necessary element” of the offense and all the elements have not been

 4   submitted to the grand jury. ECF No. 167. Defendant reasons that simply

 5   charging “50 grams or more of pure (actual) methamphetamine” does not allow

 6   him to make an informed decision regarding possible sentences and specifically the

 7   upper limits of the range of punishment. Id. at 3–4.

 8         The United States asserts the indictment properly asserts the elements of the

 9   offense and the quantity necessary for the punishment sought. ECF No. 202.

10         Defendant is charged in count 1 of the superseding indictment with

11   conspiracy to possess with intent to distribute 50 grams or more of pure (actual)

12   methamphetamine. ECF No. 172. The elements of a drug conspiracy under 21

13   U.S.C. § 846 are (1) there was an agreement to accomplish an objective made

14   criminal by § 841(a)(1), which prohibits the possession with intent to distribute a

15   controlled substance; and (2) the defendant intended to commit the underlying

16   offense. See United States v. Suarez, 682 F.3d 1214, 1219 (9th Cir. 2012). There

17   is no requirement to prove an overt act in furtherance of the conspiracy, an illegal

18   agreement alone is sufficient. Id. (citing United States v. Shabani, 513 U.S. 10, 15-

19   16 (1994)). Defendant correctly observes that the type and quantity of drugs

20   involved determines the statutory penalty associated with the crime, 21 U.S.C.


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 1   § 841(b), and must be submitted to the jury (grand and petite) in order for

 2   increased statutory maximum penalties to apply. See United States v. Cortes, 757

 3   F.3d 850, 861 (9th Cir. 2014) (citing Apprendi v. New Jersey, 530 U.S. 466

 4   (2000)). The Supreme Court has further held:

 5         [] Apprendi 's definition of “elements” necessarily includes not only
           facts that increase the ceiling, but also those that increase the floor.
 6         Both kinds of facts alter the prescribed range of sentences to which a
           defendant is exposed and do so in a manner that aggravates the
 7         punishment. Facts that increase the mandatory minimum sentence are
           therefore elements and must be submitted to the jury and found
 8         beyond a reasonable doubt.

 9   Alleyne v. United States, 133 S.Ct. 2151, 2158 (2013) (citations omitted). But

10   here, the Superseding Indictment alleges the type and quantity of controlled

11   substance which would invoke the highest penalty under the statute––10 years to

12   life imprisonment. There is no showing that the United States did not present

13   evidence as to the type and quantity of drugs here.

14         Defendant’s complaint that he cannot calculate where within that range his

15   potential sentence will lie misses the mark, too. The jury does not decide the

16   ultimate sentence, but only the operative facts that will inform the court as to the

17   range of sentences available. Since United States v. Booker, 543 U.S. 220 (2005),

18   the sentencing guidelines are only advisory––a district court must correctly

19   calculate the guideline range before imposing a reasonable sentence. See United

20


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 1   States v. Carty, 520 F.3d 984, 991–94 (9th Cir. 2008). Defendant’s motion is

 2   denied.

 3         4. Motion to Suppress Pole Camera Evidence (ECF No. 168)

 4         Defendant contends that the warrantless installation and use of a pole camera

 5   to continuously record all activity in the public alleyway behind his house

 6   constituted a warrantless search under the Fourth Amendment. He argues such a

 7   search is an unreasonable intrusion into his privacy interests and therefore all

 8   evidence obtained from the camera must be suppressed.

 9         The Fourth Amendment protects “[t]he right of the people to be secure in

10   their persons, houses, papers, and effects against unreasonable searches and

11   seizures.” U.S. CONST. amend. IV. “[A] Fourth Amendment search occurs when

12   the government violates a subjective expectation of privacy that society recognizes

13   as reasonable.” Kyllo v. United States, 533 U.S. 27, 33 (2001) (citing Katz v.

14   United States, 389 U.S. 347, 361 (1967) (Harlan, J., concurring)) (quoted in United

15   States v. Gonzalez, 328 F.3d 543, 546 (9th Cir. 2003)). The Supreme Court

16   recently held in United States v. Jones that, while the reasonable expectation of

17   privacy test is not the exclusive test for evaluating whether a Fourth Amendment

18   search occurred, cases “involving merely the transmission of electronic signals

19   without trespass would remain subject to the [reasonable expectation of privacy]

20   analysis.” 132 S.Ct. 945, 953 (2012) (emphasis in original). As such, to determine


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 1   whether a search was conducted under the Fourth Amendment in this case, this

 2   Court must determine whether Defendant had a “reasonable expectation of

 3   privacy” in the location and activities observed by the pole camera.

 4         “[W]hat a person knowingly exposes to the public, even in his own home or

 5   office, is not a subject of Fourth Amendment protection.” Katz, 389 U.S. at 351.

 6   Law enforcement agents may use their resources to conduct surveillance where

 7   they have a legal right to occupy. See, e.g., Florida v. Riley, 488 U.S. 445, 449

 8   (1989) (“[T]he police may see what may be seen ‘from a public vantage point

 9   where [they have] a right to be’. . . .” (quoting California v. Ciraolo, 476 U.S. 207,

10   213 (1986))). “A person has a stronger claim to a reasonable expectation of

11   privacy from video surveillance than against a manual search.” United States v.

12   Gonzalez, 328 F.3d 543, 548 (9th Cir. 2003) (citing United States v. Taketa, 923

13   F.2d 665, 675 (9th Cir. 1991)) (noting that the Ninth Circuit has held that the

14   Fourth Amendment forbids warrantless videotaping of private offices and hotel

15   rooms). However, videotaping in public places does not violate the Fourth

16   Amendment. Id.; see also Jones, 132 S. Ct. at 953 (“This Court has to date not

17   deviated from the understanding that mere visual observation does not constitute a

18   search.”).

19         For example, a district court found that law enforcement officials violated a

20   defendant’s reasonable expectation of privacy where a neighbor acting for the state


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 1   conducted round-the-clock video surveillance of defendant’s fenced back yard for

 2   fifty-six days. Shafer v. City of Boulder, 896 F. Supp. 2d 915 (D. Nev. 2012).

 3   Similarly, in affirming a conviction based on evidence derived through video

 4   surveillance of the defendant's back yard from a camera placed on a power pole,

 5   the Fifth Circuit held that: (1) the video surveillance constituted a search for

 6   Fourth Amendment purposes because he had a reasonable expectation of freedom

 7   from such surveillance in his back yard; but (2) the search warrant authorizing the

 8   surveillance was proper and did not violate defendant's Fourth Amendment rights.

 9   United States v. Cuevas-Sanchez, 821 F.2d 248 (5th Cir. 1987). However, the

10   Tenth Circuit held that warrantless installation of silent video surveillance cameras

11   on telephone poles outside an accused narcotics offender's house, and outside the

12   house of another person, was held not to violate the accused's Fourth Amendment

13   rights. United States v. Jackson, 213 F.3d 1269 (10th Cir. 2000) (noting that the

14   cameras could not view within the houses and could observe only what any

15   passerby would easily have been able to observe, thus, concluding that the accused

16   had no reasonable expectation of privacy intruded upon by the cameras), vacated

17   on different grounds, 531 U.S. 1033 (2000).

18         The evidence presented at the suppression hearing demonstrated that the

19   pole camera only recorded activity that occurred in the public alleyway behind

20   Defendant’s detached garage. No law enforcement agent trespassed on any


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 1   property in which Defendant had a privacy interest while installing the camera.1

 2   The position of the camera was such that it could not observe more than the roof of

 3   Defendant’s garage and the alleyway directly adjacent to the garage. While the

 4   pole camera was capable of zooming and panning, FBI Special Agent Edward

 5   Jacobson offered uncontradicted testimony that the investigating officers never

 6   manipulated the camera to observe any area beyond the alleyway. Indeed, any

 7   further observation of the Defendant’s property was obscured by trees as well as a

 8   neighboring house and detached garage located directly between the pole camera

 9   and Defendant’s own house and garage. See Exhibits A and C. Special Agent

10   Jacobson testified that the camera could not and did not observe the front or back

11   door of the house and none of its windows. See Exhibit C as illustrative of the pan

12   toward the house, but the view does not even come close to the house. Indeed,

13   based on his testimony, the camera did not view the street in front of the house

14   either. Based on the photographs introduced, as well as Special Agent Jacobson’s

15   testimony regarding the location of the camera and the intervening property, the

16   Court concludes the camera did not directly observe Defendant’s property or

17   activities which occurred on his property or inside his home. Instead, the camera

18   1
         The camera was mounted on a utility pole owned by a utility company and

19   located on its easement 150 to 200 yards away from the property. The utility

20   company consented to the installation of the camera on the pole.


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 1   only observed activity which occurred in the public alleyway behind his garage.

 2   Defendant does not have a legitimate expectation of privacy in activities which

 3   occurred in that public alleyway, readily observable by any passerby. As such,

 4   Defendant’s motion to suppress the pole camera evidence is denied.

 5         5. Motion to Dismiss Case Re: Speedy Trial Violation (ECF No. 171)

 6         Defendant contends he has been continuously held in custody since August

 7   6, 2013, and that his speedy trial rights have been violated such that the charges

 8   should be dismissed against him. ECF No. 171 at 7. He asserts violations of Fed.

 9   R. Crim. P. 48(b), the Sixth Amendment, and 18 U.S.C. § 3161(c)(1).

10         The grand jury issued an indictment against the Defendant on January 7,

11   2014. ECF No. 31. Defendant did not appear in this judicial district on the charge

12   until March 18, 2014. ECF No. 83. Prior to that time, Defendant had been held in

13   custody on other charges by other jurisdictions, including Whitman County,

14   Washington, and the District of Idaho. See ECF No. 196-1. Once Defendant was

15   brought to this court to answer to the charges, less than forty nine days elapsed

16   before the court granted a co-defendant’s motion to continue the trial. The Court

17   entered a finding declaring excludable under the speedy trial clock the time from

18   May 1, 2014, when the motion was filed, until July 28, 2014, when the new trial

19   was scheduled. ECF No. 124. Defendant signed a written waiver of his speedy

20   trial rights, agreeing to this continuance. ECF No. 127. Defendant later sought a


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 1   continuance, which the Court granted and declared excludable under the speedy

 2   trial clock the period from July 7, 2014, when the motion was filed, until

 3   September 29, 2014, the new trial date. ECF No. 158. Defendant again signed a

 4   written waiver agreeing to this continuance. ECF No. 150. Accordingly, there has

 5   been no violation of the Speedy Trial Act, 18 U.S.C. § 3161(c)(1), requirement that

 6   Defendant be brought to trial within seventy days (absent excludable delay).

 7         With respect to a challenge based on defendant's speedy trial rights under the

 8   Sixth Amendment, the court considers four factors: (1) the length of the delay; (2)

 9   the reason for the delay; (3) the defendant's assertion of speedy trial rights; (4) and

10   prejudice as a result of the delay. Doggett v. United States, 505 U.S. 647, 651–52

11   (1992). A presumptively prejudicial length of delay must be shown to consider the

12   remaining factors. Id. Courts generally have found that delays approaching one

13   year, between indictment and trial, are presumptively prejudicial. See United

14   States v. Gregory, 322 F.3d 1157, 1161–62 (9th Cir. 2003). A primary reason for

15   the delay in this case was defendant's pretrial detention in the District of Idaho and

16   the length of time necessary to resolve those charges. The remaining delay is

17   attributed to the Defendant’s own need for trial preparation or that of his co-

18   defendants’ with which he agreed. Thus, Defendant has not shown that the

19   government's conduct caused the delay, or most importantly, that he suffered any

20   actual prejudice as a result.


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 1            Dismissal under Rule 48(b) is likewise unwarranted in this case. A Rule

 2   48(b) dismissal should be imposed only in extreme circumstances. United States v.

 3   Sears, Roebuck and Co., Inc., 877 F.2d 734, 738 (9th Cir. 1989) (dismissal with

 4   prejudice is proper only after a “forewarning of the consequences” of further

 5   delay). No such circumstances exist in this case. Defendant’s motion is denied.

 6            6. Motion to Suppress Statements (ECF No. 188)

 7            Defendant seeks to suppress certain statements he made to state officers

 8   when he was arrested on August 6, 2014, on state charges. ECF No. 18. The

 9   United States agrees that it will not introduce any of those statements in its case-in-

10   chief.

11            Accordingly, Defendant’s motion is denied as moot.

12            7. Motion for Disclosure of Brady Material (ECF No. 189)

13            Defendant complains that he has not received all the Brady material he is

14   entitled. ECF No. 189. The United States responds generally that all Brady

15   material has been provided or will be provided as it is located or identified relative

16   to a particular witness that will be called at trial. “The defendant bears the initial

17   burden of producing some evidence to support an inference that the government

18   possessed or knew about the Brady material.” United States v. Pelisamen, 641

19   F.3d 399, 408 (9th Cir. 2011) (internal quotation marks omitted). Defendant has

20


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 1   not produced any evidence that the government possesses or knows of any

 2   undisclosed Brady material. Accordingly, Defendant’s motion is denied.

 3   IT IS HEREBY ORDERED:

 4         1. Defendant’s Motion for Bill of Particulars (ECF No. 141) is DENIED.

 5         2. Defendant’s Motion to Suppress Evidence Seized (ECF No. 142) is

 6            DENIED.

 7         3. Defendant’s Motion to Dismiss/Challenge Sufficiency of Indictment

 8            (ECF No. 167) is DENIED.

 9         4. Defendant’s Motion to Suppress Pole Camera Evidence (ECF No. 168) is

10            DENIED.

11         5. Defendant’s Motion to Dismiss Case re: Speedy Trial Violation (ECF

12            No. 171) is DENIED.

13         6. Defendant’s Motion to Suppress Statements (ECF No. 188) is DENIED.

14         7. Defendant’s Motion for Disclosure of Brady Material (ECF No. 189) is

15            DENIED.

16   The District Court Executive is hereby directed to enter this Order and furnish

17   copies to counsel.

18         DATED September 22, 2014

19

20                                  THOMAS O. RICE
                                 United States District Judge

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